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13
14                         UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16                              WESTERN DIVISION

17
18 Sarah Perdue,                          Case No.:
19                     Plaintiff,         COMPLAINT FOR DAMAGES
20
          vs.                             FOR VIOLATIONS OF:
21
                                           1. THE FAIR DEBT COLLECTION
22 Universal Recovery Corporation.,        PRACTICES ACT; AND
                                           2. THE ROSENTHAL FAIR DEBT
23
                       Defendant.          COLLECTION PRACTICES ACT
24
25                                        JURY TRIAL DEMANDED

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27
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 1         Plaintiff, Sarah Perdue (hereafter “Plaintiff”), by undersigned counsel, brings
 2
     the following complaint against Universal Recovery Corporation (hereafter
 3
 4 “Defendant”) and alleges as follows:
 5                                      JURISDICTION
 6
           1.     This action arises out of Defendant’s violations of the Fair Debt
 7
 8 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and violations of the
 9 Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788, et seq.
10
   (“Rosenthal Act”).
11
12         2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), Cal. Civ.
13 Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
14
        3.    Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
15
16 the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
17
     where Defendant transacts business in this district.
18
19                                          PARTIES

20         4.     Plaintiff is an adult individual residing in Harbor City, California, and is
21
     a “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
22
23         5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), and is a

24 “debtor” as defined by Cal. Civ. Code § 1788.2(h).
25
           6.     Defendant is a business entity located in Rancho Cordova, California,
26
27 and is a “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
28 1788.2(g).


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 1         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
 2
     business the principle purpose of which is the collection of debts and/or regularly
 3
 4 collects or attempts to collect debts owed or asserted to be owed to another, and is a
 5 “debt collector” as defined by 15 U.S.C.§ 1692a(6).
 6
         8.     Defendant, in the ordinary course of business, regularly, on behalf of
 7
 8 itself or others, engages in the collection of consumer debts, and is a “debt collector”
 9
     as defined by Cal. Civ. Code § 1788.2(c).
10
11                     ALLEGATIONS APPLICABLE TO ALL COUNTS
12
           9.     Plaintiff is a natural person allegedly obligated to pay a debt asserted to
13
14 be owed to a creditor other than Defendant.
15
           10.    Plaintiff’s alleged obligation arises from a transaction in which property,
16
17 services or money was acquired on credit primarily for personal, family or household
18 purposes, is a “debt” as defined by 15 U.S.C. § 1692a(5), and is a “consumer debt” as
19
     defined by Cal. Civ. Code § 1788.2(f).
20
21         11.    At all times mentioned herein where Defendant communicated with any
22 person via telephone, such communication was done via Defendant’s agent,
23
   representative or employee.
24
25         12.    On or about May 19, 2016, Defendant called Plaintiff in an attempt to
26
     collect a debt.
27
28


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 1         13.    During a live conversation, Defendant called Plaintiff a “liar” and
 2
     accused Plaintiff of having a “criminal history.”
 3
 4         14.    Defendant’s actions caused Plaintiff to suffer a significant amount of
 5 stress, anxiety and frustration.
 6
 7                                          COUNT I
 8
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
 9                         U.S.C. § 1692, et seq.
10
           15.    Plaintiff incorporates by reference all of the above paragraphs of this
11
12 complaint as though fully stated herein.
13         16.    The FDCPA was passed in order to protect consumers from the use of
14
     abusive, deceptive and unfair debt collection practices and in order to eliminate such
15
16 practices.
17
           17.    Defendant attempted to collect a debt from Plaintiff and engaged in
18
     “communications” as defined by 15 U.S.C. § 1692a(2).
19
20         18.    Defendant engaged in conduct, the natural consequence of which was to
21
     harass, oppress, or abuse Plaintiff, in connection with the collection of a debt, in
22
23 violation of 15 U.S.C. § 1692d.
24         19.    Defendant used obscene or profane language or language the natural
25
     consequence of which was to abuse Plaintiff, in violation of 15 U.S.C. § 1692d(2).
26
27         20.    Defendant used false, deceptive, or misleading representations or means
28 in connection with the collection of a debt, in violation of 15 U.S.C. § 1692e.


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 1         21.    The foregoing acts and/or omissions of Defendant constitute multiple
 2
     violations of the FDCPA, including every one of the above-cited provisions.
 3
 4         22.    Plaintiff was harmed and is entitled to damages as a result of Defendant’s
 5 violations.
 6
 7                                         COUNT II
 8
           VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
 9                PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
10
           23.    Plaintiff incorporates by reference all of the above paragraphs of this
11
12 complaint as though fully stated herein.
13         24.    The Rosenthal Act was passed to prohibit debt collectors from engaging
14
     in unfair and deceptive acts and practices in the collection of consumer debts.
15
16         25.    Defendant did not comply with the provisions of 15 U.S.C. § 1692, et
17
     seq., in violation of Cal. Civ. Code § 1788.17.
18
           26.    Plaintiff was harmed and is entitled to damages as a result of Defendant’s
19
20 violations.
21
22                                 PRAYER FOR RELIEF
23         WHEREFORE, Plaintiff prays for judgment against Defendant for:
24
                  A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
25
26                B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
27                C. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
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 1             D. Statutory damages of $1,000.00 for knowingly and willfully committing
 2
                  violations pursuant to Cal. Civ. Code § 1788.30(b);
 3
 4             E. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
 5                § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
 6
               F. Punitive damages; and
 7
 8             G. Such other and further relief as may be just and proper.
 9
10                TRIAL BY JURY DEMANDED ON ALL COUNTS
11
12
13 DATED: November 28, 2016                   TRINETTE G. KENT

14                                           By: /s/ Trinette G. Kent
15                                           Trinette G. Kent, Esq.
                                             Lemberg Law, LLC
16                                           Attorney for Plaintiff, Sarah Perdue
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                                                          COMPLAINT FOR DAMAGES
